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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
STARR INDEMNITY & LIABILITY COMPANY,                                   :               05/07/2015
                                                                       :
                                    Plaintiff,                         :      14-CV-0463 (JMF)
                                                                       :
                  -v-                                                  :   MEMORANDUM OPINION
                                                                       :       AND ORDER
AMERICAN CLAIMS MANAGEMENT, INC., et al.,                              :
                                                                       :
                                    Defendants.                        :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

        The parties in this case, familiarity with which is assumed, dispute whether Plaintiff may

seek punitive damages, as well as whether California or New York law governs that question.

As this Court sits in New York, it must apply New York choice-of-law analysis, see Klaxon Co.

v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941), which first asks whether there is an “actual

conflict of laws,” Condit v. Dunne, 317 F. Supp. 2d 344, 352 (S.D.N.Y. 2004) (internal quotation

marks omitted). Thus, the threshold question for choice-of-law purposes is identifying what the

standard is for punitive damages in New York and California. By Memorandum Opinion and

Order entered yesterday, the Court ruled that, if New York law applies, Plaintiff may not recover

punitive damages unless it can prove that Defendants engaged in a pattern of misconduct

directed at the public. (Docket No. 118). This Memorandum Opinion and Order addresses the

relevant standard under California law and offers some additional analysis on the choice-of-law

question. Ultimately, however, the Court continues to reserve judgment on whether New York

or California law applies to the punitive damages claim pending the parties’ supplemental

briefing.
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       In light of the Court’s ruling on the standard under New York law, there is plainly an

actual conflict of laws between the two jurisdictions, as the parties agree that California law has

no public-aim requirement. (Pl. Starr Indemnity & Liability Co.’s Resp. Defs.’ Mot. Punitive

Damages (Docket No. 112) (“Pl.’s Mem.”) 12-15; Mem. Law Supp. Defs.’ Mot. To Reconsider

Ruling Allowing Punitive Damages Claim Or, Alternative, To Dismiss Pl.’s Punitive Damages

Claim (Docket No. 104) (“Defs.’ Mem.”) 11-13). Nevertheless, the parties differ with respect to

how big the conflict between New York and California law is. On the one hand, Defendants

argue that Plaintiff would be flatly prohibited from recovering punitive damages under California

law because the contract is “integral — not incidental —” to the resolution of its tort claims.

(Defs.’ Mem. 11-12). Plaintiff, on the other hand, contends that punitive damages are always

available for tort claims, even if the claims are closely connected to a claim for breach of

contract. (Pl.’s Mem. 12-15). The Court agrees with Plaintiff.

       Defendants’ argument admittedly finds support in the plain language of the California

punitive damages statute, which provides that such damages are available only “[i]n an action for

the breach of an obligation not arising from contract.” Cal. Civ. Code. § 3294(a) (emphasis

added). After all, the Court has already concluded that Plaintiff’s tort claims in this case “do

‘arise from’ the contract.” (Docket No. 118, at 2-3; see also Docket No. 85, at 21 (“[T]he

language in the Agreement seems to contemplate a fiduciary relationship with respect to ACM’s

disbursements from the Claim Account.” (emphasis added))). That decision, however, was

based on New York law. By contrast, California courts appear to take a narrower view of what

actions “arise from” a contract, with the overwhelming weight of authority holding that “[w]hen


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[an] action proceeds under alternate tort theories in addition to a contract action, then punitive

damages may be awarded under the alternative tort theory.” Frazier v. Met. Life Ins. Co., 214

Cal. Rptr. 883, 892 (Cal. Ct. App. 2d Dist. 1985) (collecting cases); see also, e.g., In re Ryan,

369 B.R. 536, 545-46 (Bankr. N.D. Cal. 2007) (holding that where a party has “both independent

tort and contract claims” the party may receive tort damages, including punitive damages, for the

tort claim and contract damages for the contract claims); Nava v. JP Morgan Chase Bank, N.A.,

No. 14-CV-7601 (DSF), 2014 WL 6886071, at *2 (C.D. Cal. Nov. 25, 2014) (noting that the

general rule precluding “tort recovery for noninsurance contract breach” applies “at least in the

absence of violation of an independent duty arising from principles of tort law” (internal

quotation marks omitted)); Harris v. Wachovia Mortg., FSB, 111 Cal. Rptr. 3d 20, 23 (Cal. Ct.

App. 4th Dist. 2010) (same). In this case, the Court has already ruled that Plaintiff’s tort claims

are independent from, and not duplicative of, its contract claims. (Docket No. 85, at 23). It

follows that, if California law applies, Plaintiff may recover punitive damages for its tort claims.

       In arguing otherwise, Defendants rely heavily on Pynoos v. Massman, No. B249711,

2014 WL 5282153 (Cal. Ct. App. 2d Dist. Oct. 16, 2014) (unpublished), which held that “where

the gist of the action is the defendant’s noncompliance with the terms of a contract, punitive

damages are barred by Civil Code section 3294.” Id. at *7 (internal citations and quotation

marks omitted). (Def.’s Mem. 12). Pynoos, however, is unpublished, and therefore “must not be

cited or relied on by a court or a party in any other action.” Cal. R. Ct. 8.1115. (Moreover, the

Pynoos Court itself stated that “[w]here a lawsuit is primarily grounded in the commission of an

independent tort, the fact that the defendant’s conduct also breaches a contract between the

parties will not preclude punitive damages; in that situation, the contract is ‘incidental’ to the


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tort.” 2014 WL 5282153, at *6 (citing cases).) The principal other case cited by Defendants —

Applied Equip. Corp. v. Litton Saudi Arabia Ltd., 869 P.2d 454 (Cal. 1994) — concerned

whether one party to a contract can sue another party to the contract for conspiracy to interfere

with contractual relations, which has little or no relevance here. In short, the plain language of

the California statute notwithstanding, the overwhelming weight of California authority — and

Defendants’ inability to cite any relevant precedential authority to the contrary — compels the

conclusion that Plaintiff may seek punitive damages under California law.

       In light of that conclusion, there is no way to avoid deciding whether New York or

California law governs Plaintiff’s request for punitive damages. As noted, the Court will

continue to reserve judgment on that question pending the parties’ supplemental briefing.

Nevertheless, it here offers some brief thoughts on the question, if only to guide the parties’

supplemental briefing. First, contrary to Defendants’ contention (Defs.’ Mem. 10-11), the

choice-of-law provision in the parties’ contract does not resolve the question. That provision

provides that: “This Agreement shall be deemed to be made in, and in all respects shall be

interpreted, construed and governed by and in accordance with the laws of the State of New

York without regard to its conflicts of law principles.” (Am. Compl. (Docket No. 89), Ex. A §

XIX). It is well established, however, that “[u]nder New York law . . . tort claims are outside the

scope of contractual choice-of-law provisions that specify what law governs the construction of

the terms of the contract.” Finance One Public Co. v. Lehman Bros. Special Financing, Inc.,

414 F.3d 325, 335 (2d Cir. 2005); see also Valley Juice Ltd. v. Evian Waters of France, Inc., 87

F.3d 604, 611 (2d Cir. 1996) (“We note as an initial matter that the choice of law clause, which

states only that the ‘Agreement is to be governed by the laws of . . . New York,’ does not purport


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to govern a claim in tort.”). Here, the choice-of-law clause in the parties’ contract is quite

narrow: it pertains only to “this Agreement,” not to all conflicts that are related to or arising out

of the Agreement. Accordingly, under New York law, the clause does not apply to Plaintiff’s

tort claims.

        The question, then, turns on which state has a greater interest in the litigation. See, e.g.,

Deutsch v. Novartis Pharm. Corp., 723 F. Supp. 2d 521, 524 (E.D.N.Y. 2010). Because punitive

damages are conduct-regulating, “‘the law of the jurisdiction where the tort occurred will

generally apply.’” Id. (quoting Guidi v. Inter-Continental Hotels Corp., No. 95-CV-9006, 2003

WL 1907901, at *1 (S.D.N.Y. Apr. 16, 2003)). Courts, however, appear to have been

inconsistent in their approaches to determining where a tort occurred. Compare, e.g., id. at 524-

25 (finding the plaintiffs’ contacts to New York to be irrelevant because “the relevant contacts

are those that relate to the alleged conduct giving rise to their claims for punitive damages,”

namely, where the defendant’s actions occurred), with Northwestern Mut. Life Ins. Co. v.

Wender, 940 F. Supp. 62, 66 (S.D.N.Y. 1996) (stating that courts consider multiple factors in

determining the “locus” of tort, including “the interest of the jurisdiction in applying its law to

discourage future bad conduct, the place where a defendant’s conduct would be evaluated, and to

a lesser extent the place where the ‘victim’ suffered economic loss”), and Ayco Co., L.P v.

Frisch, 795 F. Supp. 2d 193, 204 (N.D.N.Y. 2011) (finding that where “the alleged conduct that

g[ave] rise to Plaintiff’s tort law claims is the same as that which gave rise to its breach of

contract claims . . . it is both efficacious and reasonable for New York law[, which governed the

contract claims,] to apply to the tort claims as well.”). In their supplemental briefing, the parties

should address that inconsistency (in addition to whatever other issues they find relevant to the


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choice-of-law question in light of this ruling and the Court’s ruling of yesterday). In addition,

the parties should answer the following factual questions: (1) what major actions Defendants

took that Plaintiff considers tortious and where they occurred; and (2) where the relevant bank

account (i.e., the Claim Account) is located.


       SO ORDERED.


Dated: May 7, 2015
       New York, New York




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